AO 72A .
(Rev. 8/82)

 

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In the United States District Court
for the Southern District of Georgia

Brunswlck Dlvlston

RUBYC.MEEK& *
*
Plaintiff, *
*

vs. * CV 213-011
=|<
BRUNSWICK HOUSING *
AUTHORITY, *
*
*
=l=
Defendant. *

ORDER

Plaintiff Ruby C. Meeks (“Meeks”) filed a complaint in this
Court on January 14, 2013, alleging age discrimination in
violation of the Age Discrimination in Employment Act of 1967
(“ADEA”), 29 U.S.C. §§ 621-634, disability discrimination in
violation of the Americans with Disabilities Act of 1990
(“ADA”), 42 U.S.C. §§ 12101-12213, and retaliation. §ee Dkt.
No. 1. Meeks moved to amend her complaint to include a claim of
race discrimination on November 15, 2013, Dkt. No. 22, and
Magistrate Judge James E. Graham granted the motion. Dkt. No.
39. Defendant Brunswick Housing Authority (“BHA”) filed
objections to the Order granting Meeks’s motion to amend her

complaint. Dkt. No. 41. BHA's objections regarding the

 

 

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pleading of additional damages in connection with Counts I, II,
and III are SUSTAINED. BHA’s objections concerning the addition
of a racial discrimination claim are OVERRULED.

The Scheduling Order deadline for filing motions to amend
was set for June 29, 2013, and discovery was originally set to
close by October 15, 2013. Dkt. No. 14. Pursuant to a joint
motion, an extension of discovery was granted through October
31, 2013. Dkt. No. 18. Meeks filed a Motion to Amend Complaint
fifteen days after the close of discovery, during which time
there was no pending Motion for Summary Judgment. Dkt. No. 22.
The Magistrate Judge granted Meeks’s motion to amend, and BHA
filed objections to the Order. Dkt. No. 41. In addressing
nondispositive pretrial matters, “[t]he district judge in the
case must consider timely objections and modify or set aside any
part of the order that is clearly erroneous or is contrary to
law.” EED. R. Clv. P. 72(a).

“[W]hen a motion to amend is filed after a scheduling order
deadline, Rule 16 is the proper guide for determining whether a

party's delay may be excused.” Sosa v. Airprint Sys., Inc., 133

 

F.3d 1417, 1418 n.2 (1lth Cir. 1998). Federal Rule of Civil
Procedure 16 allows a schedule to be modified “only for good
cause and with the judge’s consent.” FED. R. CIV. P. 16(b)(4).
Modification is permitted where “the schedule cannot ‘be met

despite the diligence of the party seeking the extension.’”

 

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§9§§, 133 F.3d at 1418 (quoting EED. R. CIV. P. 16, Advisory
Committee’s Note). Thus, a court's inquiry focuses on the
diligence of the party seeking the extension in pursuing his or
her claim. 1§; at 1418-19.

Meeks moved to amend her complaint, in part, in order to
plead additional damages related to her ADA, ADEA, and
retaliation claims. Meeks has not presented any justification
or good cause demonstrating why she waited until four months
after the Scheduling Order deadline to plead those damages in
connection with her pre-existing claims.1 Consequently, the
Magistrate Judge's Order granting Meeks leave to amend her
Complaint to include additional damages was contrary to law.
BHA’s objections regarding the pleading of additional damages in
connection with Counts 1, 11, and 111 of the complaint are
SUSTAINED.

Meeks has presented good cause for her delay in moving to
add a race discrimination claim to her complaint, Good cause
stems from Meeks’s assertion that discovery supported her racial
discrimination claim in a way that was unknown at the time of

her initial complaint, Meeks alleges that questions posed to

 

l Meeks’s Motion to Amend Complaint states, “Discovery provided to [Meeks]
along with the deposing of Defendant's employees provided information to
support an allegation of racial discrimination. Given this, [Meeks] seeks an
order to allow her to amend her complaint by adding an allegation of racial
discrimination, punitive and liquidated damages, and clarifying the grounds
for the Complaint.” Dkt. No. 22, 11 5-6. Her Response in Opposition to
Defendant's Objections to Order Granting Plaintiff’s Motion to Amend
Complaint does not address the additional damages at all. Dkt. No. 47.

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her by BHA’s counsel in her deposition on September 10, 2013
revealed new considerations that she did not grasp at the time
of her initial complaint. Dkt. No. 47, p. 3. In granting
Plaintiff’s Motion to Amend Complaint to add a claim of racev
discrimination, the Court finds the Magistrate Judge’s Order
neither clearly erroneous nor contrary to law. Thus, BHA’s
Objections concerning the addition of this claim are OVERRULED.
The Court gives Defendant thirty (30) days from the date of this
Grder to move on the racial discrimination claim. Plaintiff
must oppose any such motion within fifteen (15) days, and
Defendant must file any reply within ten (10) days.
CONCLUSION

For the reasons stated above, Defendant’s objections
regarding the pleading of additional damages are SUSTAINED.
Defendant’s objections concerning the addition of a racial
discrimination claim are OVERRULED.

SO ORDERED, this 30“lday of September, 2014.

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LIsA GoDBEY Woon, cHIEF JUDGE
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